 Case 1:05-cv-00636-GMS Document 19 Filed 05/23/06 Page 1 of 2 PageID #: 79



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


BLACK & DECKER INC. and                          )
BLACK & DECKER (U.S.) INC.,                      )
                                                 )
                      Plaintiffs,                )
                                                 )   Civil Action No. 05-636-GMS
                v.                               )
                                                 )   JURY TRIAL DEMANDED
THE STANLEY WORKS,                               )
                                                 )
                      Defendant.                 )


                             AGREED ORDER OF DISMISSAL

                This action comes before the Court on the pleadings and proceedings of record

and it has been represented to the Court that plaintiffs, Black & Decker Inc. and Black & Decker

(U.S.) Inc. (collectively “B&D”) and defendant, The Stanley Works (“Stanley”), have agreed to

a settlement of all claims and counterclaims that were or could have been brought by them in this

Civil Action.

                WHEREFORE, with the consent of plaintiffs and defendant, through their

undersigned attorneys, it is hereby finally ORDERED, ADJUDGED and DECREED as follows:

                1.    This Court has personal jurisdiction over the parties and the subject matter

of this action, including the enforcement of the Settlement Agreement entered among the parties.

                2.    Pursuant to the terms and conditions of the Settlement Agreement entered

between B&D and Stanley, all claims, counterclaims and defenses of B&D and/or Stanley are

hereby dismissed with prejudice.

                3.    Each party to this Order shall bear its own costs and attorneys’ fees.
  Case 1:05-cv-00636-GMS Document 19 Filed 05/23/06 Page 2 of 2 PageID #: 80



AGREED TO AND ACCEPTED BY:

MORRIS, NICHOLS, ARSHT & TUNNELL LLP        BLANK ROME LLP


/s/ Thomas C. Grimm                         /s/ Neal C. Belgam
_________________________________________   __________________________________
Thomas C. Grimm (#1098)                     Neal C. Belgam (#2721)
James W. Parrett, Jr. (#4292)               Dale R. Dube (#2863)
1201 N. Market Street                       1201 N. Market Street
P.O. Box 1347                               Suite 800
Wilmington, DE 19899-1347                   Wilmington, DE 19801-4226
(302) 658-9200                              (302) 425-6400
tgrimm@mnat.com                             belgam@blankrome.com
jparrett@mnat.com                           dube@blankrome.com
Attorneys for Black & Decker Inc.             Attorneys for The Stanley Works
and Black & Decker (U.S.) Inc.


OF COUNSEL:                                 OF COUNSEL:

Raymond P. Niro                             William P. Atkins
Dean D. Niro                                Ross R. Barton
Sally Wiggins                               PILLSBURY WINTHROP SHAW
NIRO, SCAVONE, HALLER & NIRO                  PITTMAN LLP
181 West Madison, Suite 4600                1650 Tyson Boulevard
Chicago, IL 60602-4515                      McLean, VA 22102
(312) 236-0733                              (703) 770-7900




                                    SO ORDERED THIS ____ day of May 2006.



                                    ____________________________________
                                    United States District Court Judge

521520




                                      2
